                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                            Case No. 3:07CR119

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )
vs.
                                         )
SHELDON BRENOWITZ,                       )
                                         )
                    Defendant.           )

         ORDER GRANTING MOTION ALLOWING DEFENSE COUNSEL TO
              APPEAR PRO HAC VICE FOR A LIMITED PURPOSE

COMES NOW, this Honorable Court, after reviewing the motion and affidavit and otherwise
being advised on the premises, hereby

ORDERS AND ADJUDGES that Jo Ann Barone Kotzen, Esquire is admitted pro hac vice for
the limited purpose of representing the above Defendant, SHELDON BRENOWITZ, in his
arraignment and pretrial release hearing.

SO ORDERED.




                                             Signed: June 14, 2007




      Case 3:07-cr-00119-FDW-DCK       Document 26       Filed 06/14/07   Page 1 of 1
